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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA               CASE NO.
                                         2:20−cv−05911−DSF−PLA
               Plaintiff(s),
        v.                               Order to Show Cause re
  REAL PROPERTY LOCATED IN               Dismissal for Lack of
  PARIS, FRANCE                          Prosecution

              Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, Real Property Located in Paris, France Titled In the Name of
     Ave Raphael (Paris) SCI failed to plead or otherwise defend within the
     relevant time. The Court orders plaintiff to show cause in writing on or before
     November 18, 2020 why the claims against the non-appearing defendant(s)
     should not be dismissed for lack of prosecution. Failure to respond to this
     Order may result in sanctions, including dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: November 4, 2020                      /s/ Dale S. Fischer
                                             Dale S. Fischer
                                             United States District Judge
